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 4

 5                           IN THE UNITED STATES DISTRICT COURT

 6                       FOR THE EASTERN DISTRICT OF CALIFORNIA

 7
                                                ) Case No.: 2:13-CR-00160 MCE
 8   United States of America,                  )
                                                ) STIPULATION REGARDING EXCLUDABLE TIME
 9                Plaintiff,                    ) PERIODS UNDER SPEEDY TRIAL ACT; ORDER
                                                )
10        vs.                                   ) Court: Hon. Morrison C. England
      Sakhanskiy, et.al.                        ) Time:     9:00 a.m.
11                                              ) Date:     August 21, 2014
                  Defendants.                   )
12                                              )
13

14                                         STIPULATION

15
           Plaintiff United States of America, by and through its counsel of record, and
16
     defendants, by and through their counsel of record, hereby stipulate as follows:
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           1.     By previous order, this matter was set for status on June 19, 2014.
18
           2.     By this stipulation, defendants now move to continue the status
19   conference until August 21, 2014, and that date is available with the Court

20         3.     The parties agree and stipulate, and request that the Court find the

21   following:

22         a.     The government has provided over 6,000 pages of discovery, including

     investigative reports and related documents in electronic form, over 3 hours of audio
23
     taped interviews with Sacramento Metropolitan Fire investigators and local law
24
     enforcement and other witnesses and photographs.    Alexander Sakhaniskiy has recently
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     obtained new counsel.   Counsel will need to review reports and engage in
26
     investigation.
27         b.     Counsel for Larissa Sakhaniskiy has hired a fire investigation expert to

28   review evidence in this matter.   Counsel continues to review discovery and   actively




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     investigate this matter.   Counsel desire additional time to consult with their
 1
     clients, to continue investigation and research related to the charges, to review and
 2
     copy discovery for this matter, to discuss potential resolutions with clients, to
 3
     prepare pretrial motions, and to otherwise prepare for trial.
 4         c.     Counsel for defendants believe that failure to grant the above-requested

 5   continuance would deny defendant the reasonable time necessary for effective

 6   preparation, taking into account the exercise of due diligence.

 7         d.     The government does not object to the continuance.

           e.     Based on the above-stated findings, the ends of justice served by
 8
     continuing the case as requested outweigh the interest of the public and the defendant
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     in a trial within the original date prescribed by the Speedy Trial Act.
10
           f.     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §
11
     3161, et seq., within which trial must commence, the time period of June 19, 2014 to
12   August 21, 2014 inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A),

13   B(iv) [Local Code T4] because it results from a continuance granted by the Court at

14   defendant’s request on the basis of the Court's finding that the ends of justice

15   served by taking such action outweigh the best interest of the public and the

     defendant in a speedy trial.
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              4.       Nothing in this stipulation and order shall preclude a finding that other
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     provisions of the Speedy Trial Act dictate that additional time periods are excludable
 2
     from the period within which a trial must commence.
 3
     IT IS SO STIPULATED.
 4   Dated: May 19, 2014                   Respectfully submitted,
 5

 6                                                  __/s/ Shari Rusk___
                                                   Shari Rusk
 7                                                  Attorney for Defendant
                                                    Larisa Sakhanskiy
 8

 9                                                 /s/ Mark J. Reichel____
                                                   Mark J. Reichel
10                                                 Attorney for Defendant
                                                   Alexander Sakhaniskiy
11
                                                   /s/ Michael Anderson
12                                                 Michael Anderson
                                                   Assistant United States Attorney
13

14
                                           ORDER
15
              IT IS SO ORDERED.
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     Dated:        June 20, 2014
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